Case 2:22-cv-00232-JRG Document 1-8 Filed 06/24/22 Page 1 of 6 PageID #: 657




          EXHIBIT H
Case 2:22-cv-00232-JRG Document 1-8 Filed 06/24/22 Page 2 of 6 PageID #: 658




        Comparison of U.S. Patent No. 11,329,352 to the CosMX CA3862E1 Battery Cell

                  Claim 1                            CosMX CA3862E1 Battery Cell
 1. A secondary battery, comprising:         The CA3862E1 battery cell is a secondary
                                             (rechargeable) battery used, for example, in a
                                             Lenovo Legion 5 laptop.




10660-00001/13411607.1
Case 2:22-cv-00232-JRG Document 1-8 Filed 06/24/22 Page 3 of 6 PageID #: 659




                     Claim 1                  CosMX CA3862E1 Battery Cell
 a first electrode tab;                 The CA3862E1 battery cell has a first electrode
                                        tab.




 a first electrode plate, comprising:   A cross section of the CA3862E1 battery cell
                                        shows both anodic and cathodic electrode plates.




 a first current collector; and         A cross section of CA3862E1 battery cell shows
                                        anodic (copper color) and cathodic (white color)
                                        current collectors.




10660-00001/13411607.1
Case 2:22-cv-00232-JRG Document 1-8 Filed 06/24/22 Page 4 of 6 PageID #: 660




                     Claim 1                                 CosMX CA3862E1 Battery Cell
 a first active substance, disposed on a first      A cross section of the CA3862E1 battery cell
 surface of the first current collector and a       shows the active substances disposed on each side
 second surface of the first current collector,     of the anodic current collector (containing
 wherein the second surface is opposite to the      graphite) and the cathodic current collector
 first surface;                                     (containing cobalt).




 a first electrode tab receiving groove,            The CA3862E1 battery cell’s anodic tab assembly
 defined by an exposed portion of the first         includes an electrode receiving groove defined by
 surface of the first current collector and the     an exposed portion of the surface of the copper-
 first active substance on a periphery of the       based current collector and the first graphite
 first electrode tab receiving groove, the first    containing active substance on the periphery of an
 electrode tab receiving groove receiving the       anodic tab receiving groove. The anodic tab is
 first electrode tab, wherein the first electrode   electrically connected with the copper-based
 tab is electrically connected with the first       current collector through the tab receiving
 current collector through the first electrode      groove.
 tab receiving groove;




10660-00001/13411607.1
Case 2:22-cv-00232-JRG Document 1-8 Filed 06/24/22 Page 5 of 6 PageID #: 661




                         Claim 1                         CosMX CA3862E1 Battery Cell

 a first recess that is opposite to the first     The CA3862E1 battery cell’s anodic tab assembly
 electrode tab receiving groove, defined by a     includes a recess defined by a second surface of
 corresponding portion of the second surface      the copper-based current collector and the
 of the first current collector and the first     graphite containing active substance.
 active substance on a periphery of the first
 recess;




 a first electrode plate notch disposed on a      A magnified view of the CA3862E1 battery cell’s
 side edge of the first electrode tab receiving   anodic tab assembly shows a notch at the edge of
 groove and extending through the second          the tab assembly at the top of the tab receiving
 surface and the first surface of the first       groove that extends through the first and second
 current collector; and                           surfaces of the current collector.




10660-00001/13411607.1
Case 2:22-cv-00232-JRG Document 1-8 Filed 06/24/22 Page 6 of 6 PageID #: 662




                     Claim 1                             CosMX CA3862E1 Battery Cell
 the first electrode tab receiving groove is    A magnified view of the CA3862E1 battery cell’s
 formed by the first current collector and at   anodic tab assembly shows the anodic tab
 least two first active substance walls;        receiving groove is formed by the copper-based
                                                current collector and at least two walls comprised
                                                of the graphite containing active substance.




 wherein the secondary battery is a wound-      A cross section of the CA3862E1 battery cell
 type secondary battery.                        shows it is a wound-type secondary battery.




10660-00001/13411607.1
